                  Case 24-00906               Doc 3           Filed 01/24/24 Entered 01/24/24 09:02:10                                          Desc Main
                                                                 Document Page 1 of 1

 Fill in this information to identify your case:

  Debtor 1:                Kwok                 Lun                        Wong
                          First Name            Middle Name                Last Name

  Debtor 2:
  (Spouse, if filing)     First Name            Middle Name                Last Name

  United States Bankruptcy Court for the:                 Northern               District of        Illinois


                                                                                                                                ❑ Check if this is an
  Case Number:
  (if known)
                                                                                                                                    amended filing


Official Form 103A
Application for Individuals to Pay the Filing Fee in Installments                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

  Part 1:               Specify Your Proposed Payment Timetable

 1.    Which chapter of the Bankruptcy Code are                ❑ Chapter 7
       you choosing to file under?                             ❑ Chapter 11
                                                               ❑ Chapter 12
                                                               ✔ Chapter 13
                                                               ❑
 2.    You may apply to pay the filing fee in up to            You propose to pay…
       four installments. Fill in the amounts you
       propose to pay and the dates you plan to                $                  78.25        With the filing of the petition      02/23/2024
       pay them. Be sure all dates are business                                                On or before this date ........      MM / DD / YYYY
       days. Then add the payments you propose
       to pay.                                                 $                  78.25    On or before this date ...........       03/23/2024
                                                                                                                                    MM / DD / YYYY
       You must propose to pay the entire fee no
       later than 120 days after you file this                 $                  78.25    On or before this date ...........       04/23/2024
       bankruptcy case. If the court approves your                                                                                  MM / DD / YYYY
       application, the court will set your final
       payment timetable.                                      $                  78.25    On or before this date ...........       05/23/2024
                                                          +                                                                         MM / DD / YYYY

                                                  Total        $                313.00     ◀ Your total must equal the entire fee for the chapter you checked in line 1.
  Part 2:               Sign Below

 By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments, and that you understand
 that:

        You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney, bankruptcy petition preparer, or
 ■      anyone else for services in connection with your bankruptcy case.

        You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your deadline. Your debts will not be
 ■      discharged until your entire fee is paid.

 ■      If you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other bankruptcy proceedings may be affected.

 ✘                  /s/ Kwok Lun Wong                     ✘                                                          ✘                   /s/ Vaughn White
      Kwok Lun Wong                                           Signature of Debtor 2                                      Vaughn White, Bar No. 6198291
      Signature of Debtor 1                                                                                              Your attorney’s name and signature, if you used
                                                                                                                         one
      Date:       01/24/2024                                  Date:
              MM / DD / YYYY                                          MM / DD / YYYY                                 Date:         01/24/2024
                                                                                                                             MM / DD / YYYY




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